           Case 1:19-cr-00164-CKK Document 2 Filed 05/17/19 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                          Case No.



 DAWNE DORSEY

         Defendant.                                   I




                                          INFORMATION

                                            COUNT ONE

        Between on or about February 23,2016, and continuing through on or about August 20,

2018, within the District of Columbia and elsewhere, defendant, DAWNE DORSEY, a public

official, did comrptly demand, seek, receive, accept, and agree to receive and accept something of

value personally, in retum for being induced to do an act and omit to do an act in violation ofher

official duty; that is,   she accepted money from Brian Bailey and Person       A in retum for providing

Bailey and Person A with un-redacted Tenant Opportunity to Purchase Act offer of sale notices in

violation ofher official duty to keep such information confidential.

          (Bribery, in violation of Title 18, United States Code, Section 201(bX2)(C).)


                                                            Respectful ly submitted,

                                                            JESSIE K. LIU
                                                            United States Attomey
                                                            D.C. Bar No. 472845


                                                B.v
                                                            MIC         J. MARANDO
                                                            Assistant United States Attomey
                                                            United States Attomey's Office for the
                                                               District of Columbia
                                                            555 4th Street, N.W.
                                                            Washington, D.C. 20001
